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                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION

In re:

LINA M TORRES                                                         Case No. 19-bk-5796-GER
                                                                                      Chapter 7


                      Debtor(s)        /


              MOTION TO AMEND ORDER GRANTING TRUSTEE’S MOTION TO
                APPROVE SALE OF ESTATE’S INTEREST IN NON-EXEMPT
                    REAL ESTATE IN OSCEOLA COUNTY, FLORIDA

         ARVIND MAHENDRU, Trustee (the “Trustee”), files this Motion to Amend Order

Granting Motion to Approve Sale of Estate’s Interest in Non-Exempt Real Estate shows:

         1.     On January 13, 2022, the Trustee filed a Motion to Approve Sale of Estate’s Interest

in Non-Exempt Real Estate (“the Motion”) (Doc No. 39).

         2.     This Court granted the Motion and entered an Agreed Order (DE# 41) on February

10, 2022.

         3.     The undersigned has been informed by opposing counsel that the language

referencing a short sale in the Agreed Order is incorrect.

         WHEREFORE, the Trustee moves for the entry of an Order granting the Motion to Amend

Order previously entered on February 10, 2022 as Docket number 41.

         Dated: February 14, 2022


                                                              /s/ ARVIND MAHENDRU
                                                             ARVIND MAHENDRU, Esq.
                                                             5703 Red Bug Lake Rd. #284
                                                             Winter Springs Florida 32708
                                                             (407) 504-2462




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                                  CERTIFICATE OF SERVICE


        I certify that on February 14, 2022 a true and correct copy of the foregoing Motion to
Amend Order was provided by electronic transfer or regular US mail, postage prepaid, to all parties
listed below.

CM/ECF to:

United States Trustee, George C. Young Federal Bldg., 400 W. Washington Street, Suite 1100,
Orlando, FL 32801

Wells Fargo Bank
c/o Steve Tran, Esq.

Andrew C Baron, via ECF

US Mail to:

LINA M TORRES, 15236 GRAET BAY LANE, ORLANDO, FL 32824;


                                                   /s/ Arvind Mahendru
                                                   Arvind Mahendru, Esq.




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